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                           EXHIBIT 1
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                                    #:15270
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES - GENERAL
 Case No.        MDL 15-2668-PSG (JEMx)                                          Date     January 12, 2021
 Title           IN RE NATIONAL FOOTBALL LEAGUES SUNDAY TICKET ANTITRUST
                 LITIGATION



 Present: The                 Philip S. Gutierrez, United States Chief District Court Judge (video)
 Honorable
                Wendy Hernandez (video)                                  Marea Woolrich (video)
                     Deputy Clerk                                        Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                        Attorneys Present for Defendants:
                  Marc Seltzer (video)                                    Beth Wilkinson (video)
                                                                          Robyn Bladow (video)
 Proceedings:         ZOOM STATUS CONFERENCE

       The Court, having read and considered the recent filings and having heard from counsel
today, adopts the following dates.

 Parties to Supplement Rule 26(a)(1) Initial Disclosures                 January 22, 2021
 Discovery Commences                                                     January 22, 2021
 Deadline for DIRECTV to File Renewed Motion to Compel February 5, 2021
 Arbitration
 Deadline for plaintiffs’ Opposition to Renewed Motion to February 26, 2021
 Compel Arbitration
 Deadline for DIRECTV’s Reply Brief on Renewed Motion March 19, 2021
 to Compel Arbitration
 Hearing on Motion to Compel Arbitration                                 April 19, 2021 at 1:30 p.m.
 Deadline for substantial production of usable                           April 22, 2021
 transactional data
 Deadline for substantial completion of                                  October 22, 2021
 document productions in response to document
 requests served by January 22, 2021
 Deadline for completion of fact discovery                               March 22, 2022



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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       MDL 15-2668-PSG (JEMx)                                          Date    January 12, 2021
 Title          IN RE NATIONAL FOOTBALL LEAGUES SUNDAY TICKET ANTITRUST
                LITIGATION


 Deadline for plaintiffs’ class certification                        May 20, 2022
 motion and accompanying expert reports
 (“Class Certification Motion”)
 Deadline for defendants’ response to Class Certification August 3, 2022
 Motion and accompanying class certification expert reports
 Deadline for replies to response to Class            September 19, 2022
 Certification Motion and accompanying rebuttal class
 certification expert reports
 Hearing on class certification motion                               October 17, 2022 at 1:30 p.m.
 Deadline for plaintiffs to serve opening merits expert reports November 4, 2022
 Deadline for defendants to serve responsive merits expert January 18, 2023
 reports
 Deadline for plaintiffs to serve rebuttal merits expert reports March 6, 2023
 Close of expert discovery                                           April 5, 2023
 Deadline for summary judgment motions to be filed                   May 22, 2023
 Deadline for responses to summary judgment motions                  July 21, 2023
 Deadline for replies in support of summary judgment August 21, 2023
 motions
 Hearing on Motion for Summary Judgment                              October 9, 2023 at 1:30 p.m.

         Further, counsel shall submit a stipulation proposing a pretrial and trial date in 2024.




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